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 1                                                                 Judge Robart


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 7                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE


 9   The UNITED STATES of AMERICA, )
                                               )
10                        Plaintiff,           )      No. CR06-319 JLR
                                               )
11                 v.                          )
                                               )      ORDER CONTINUING
12   QUOC TRUNG LE,                            )      PRE-TRIAL MOTIONS DUE DATE
     TRUNG THANH LE,                           )      AND TRIAL DATE
13   THUONG HOAI TRUONG,                       )
     TRUNG VAN LE,                             )
14   KIM ANH T. HOANG,                         )
     SAN THI LE a/k/a JULIE LE,                )
15   JENNIFER LE,                              )
     THANH THEA HAU,                           )
16   PHU TRUNG LE a/k/a JOHNNY LE,             )
     QUAN DO,                                  )
17   HAI NGUYEN,                               )
     TAMMY HO,                                 )
18   THU TRANG THI HOANG,                      )
     HUNG HUYNH,                               )
19   NGUYEN NHAT LE,                           )
     KIM NGUYEN,                               )
20   CHINDA TES, and,                          )
     DAVID EISELE,                             )
21                                             )
                                 Defendants.   )
22
            THIS MATTER comes before the Court on the United States of America’s
23
     motion to continue the pre-trial motions due date and the trial date.   Having considered
24
     the entirety of the record and files herein, having held a status conference with all
25
     parties and overruling any objections, the Court finds that a failure to grant a
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     continuance would likely result in a miscarriage of justice due to the complexity of the
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     case, the number of indicted defendants, the need for additional discovery consisting of
28
     both federal and Colorado state wiretap evidence, and the need for continuity of


                                                                                  UNITED STATES ATTORNEY
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                                                                                  Seattle, Washington 98101-1271
     Quoc Le, et al./CR06-319JLR                                                           (206) 553-7970
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 1   counsel and effective assistance of counsel.   Thus, the Court further finds that a


 2   continuance of the pre-trial motions due date and the trial date will allow the


 3   government and the defendants necessary time to adequately prepare for trial.


 4          The Court further finds that the interests of the public and the defendants in a


 5   speedy trial in this case are outweighed by the ends of justice.


 6          IT IS NOW, THEREFORE, ORDERED that pre-trial motions due date is reset


 7   to January 19, 2007, with any responsive brief due two weeks thereafter.      The trial is


 8   continued from November 21, 2006, to March 5, 2007.


 9          This Court further ORDERS that the time between the date of this Order and the


10   new trial date be excluded under the Speedy Trial Act pursuant to Title 18, United


11   States Code, Sections 3161(h)(8)(A), 3161(h)(8)(B(i), and 3161(h)(B)(ii).


12          Dated this 13th day   of November, 2006.
13

14

15                                                     A
                                                       JAMES L. ROBART
16
                                                       United States District Judge
17
     Presented by:
18

19   JOHN McKAY
     United States Attorney
20

21   s/ Ye-Ting Woo
22   YE-TING WOO
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     Assistant United States Attorney
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     700 Stewart Street, Suite 5220
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